                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

 JUAN CARLOS EMDEN, MICHEL                           §
 EMDEN, AND NICOLÁS EMDEN,                           §
                                                     §   CIVIL ACTION NO. 4:21-CV-03348
            Plaintiffs,                              §
                                                     §
 v.                                                  §
                                                     §
 THE MUSEUM OF FINE ARTS,                            §
 HOUSTON,                                            §
                                                     §
            Defendant.                               §
                                                     §
                                                     §


                   Declaration in Support of The Museum of Fine Arts, Houston’s

                             Reply in Support of Its Motion to Dismiss




                                                 1
4879-0436-4300.1
           I, Aaron M. Brian, hereby declare and affirm as follows:

           1.      I am Counsel at Nixon Peabody LLP, counsel of record for the Museum of Fine

Arts, Houston (“the Museum”). I make this declaration in support of the Museum’s Reply in

Support of Its Motion to Dismiss pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure. I am familiar with the records and files, including but not limited to those identified

in paragraphs 2-3 below. I have personal knowledge of the matters stated below that I know to

be true and correct, and I am authorized and competent to make this declaration.

           2.      Attached as Exhibit 9 is a copy of the May 12, 1949 letter signed by Stefan P.

Munsing, Chief, Monuments, Fine Arts and Archives Section Restitution Branch. My office

obtained a copy of this document from the Fold3 website, which provides access to records

stored at the U.S. National Archives. Page 2 of Exhibit 9 identifies the archival source and

information for this letter.

           3.      Attached as Exhibit 10 is a true and correct copy of the archive file that was

provided to my office by the Inlichtingen Nationaal Archief (Dutch Information National

Archives) on December 10, 2021. The separate pages are copied here in the same order in which

they were produced by Dutch National Archives. Each image from the file is stamped on the

back with a round seal - “NATIONAAL ARCHIEF s’-GREVENHAGE.” The back of the first

and last images from the file also include a stamp that is dated and signed, contains the archive

file number, and is marked as “Kopie van origineel” (copy of original).

           I declare under penalty of perjury that the foregoing is true and correct.

           Executed this ___
                          9th day of February, 2021, in Los Angeles, California.

                                                  ____________________________________
                                                        Aaron M. Brian




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EXHIBIT 9
https ://www.fold3.com/image/269956488
SOURCE INFORMATION
                   Image url:    https://www.fold3.com/image/269956488
             Nara Catalog Id:    3725265
          Nara Catalog Title:    Restitution Claim Records, compiled 1945-1951
                      Series:    Restitution Claim Records
                   Category:     Restitution Cases: General Correspondence-Netherlands Claims
                 Date Range:     1945 - 1951
             Conflict Period:    World War II
         Publication Number:     M1946
            Publication Title:   Records Concerning the Central Collecting Points ("Ardelia Hall Collection"): Munich Central
                                 Collecting Point, 1945-1951
             Content Source:     NARA
            Content Partner:     NARA
     Source Publication Year:    2009
                  Language:      English, German, French
                     Country:    Germany
               Footnote Job:     11-001
   Footnote Publication Year:    2011
         Medium Description:     These records are divided into five series: Administrative Records, 1945-1951; Restitution Claim
                                 Records, 1945-1951; Activity Reports and Related Records, 1945-1950; Records Relating to the
                                 Status of Monuments, Museums, and Archives, 1945-1949; and Restitution Research Records,
                                 1945-1950.
    Publication Browse Title:    Ardelia Hall Collection: Munich Administrative Records
               Record Group:     260
           Short Description:    NARA M1946. Administrative records, correspondence, denazification orders, custody receipts,
                                 property cards, Jewish restitution claim records, property declarations, and other records from the
                                 Munich CCP.
                         Roll:   0065
                 Image Title:    Page 111
          Original data from:                   The National Archives (http://www.archives.gov)
EXHIBIT 10
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Aon het ffederlande Behiersinstituut
reuhuyskade 94
Is.-Grvvenhikal.
T.v.

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  •• Kei'Lersgracht 105, •
            msterdam.
Gentlemen:
      Reference .is made td• your letter dal.
Eeptember 27, 1947 no the conversation.b;y•
between an officer of your agency and . 'a member of
the .Lmbasy staff, in Connection with       certain •
*Inting by Dellbttd, claimed . by       Hu o. L. Moser
of 120 Central PE r': Eoutn, New York.
       The Embassy.. theihyou most sincerely for the
     ormat.i`e you Very kindly; furnished •It. Mr. .,hider
hcJs meanwhile been informed. of the fEcts•df tht*
Fiat                                                 IrTTr.
&hoUld any .further informationirek:arding this matter
be received, the Embassy will not fail to keep you
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                                   Very /rely .yours,




                                                 Ldwz.,rd C. 1:_ilkinson
                                                  Commercial Attache
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   of the United States of America at .

   duly commissioned and qualified, do hereby certify that on this

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   to me personally known, and known to me to he the individual__ described in, whose

   name _4). subscribed to, and who executed the annexed instrument, and being

   informed by me of the contents of said instrument                                                duly acknowledged to me

   that 4L.. executed the same freely and voluntarily for the uses and purposes




                                             In witness whereof I have hereunto set m

                                                     official seal the day a'nd year last above                         ten.    ,yos.....rt • .1 wail




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                                     The Hague, 21 May 1946




Dr. A. B. de Vries
Stichting Nederlands Kunstbezit
Keizersgracht 105 - Amsterdam.




              This is to certify that I am giving Mr. Henry L.
MASON, 193 Kon. Wilhelminalaan, Voorburg,        power of
attorney to act in my behalf in any matter which concerns the
recovery of my lost property in the Netherlands, especially
also in the case of the Belotto painting " kiarket square of
Pirna" which I am reclaiming from your institute.

                After the completion of thl formalities of recovery
the Belotto should be handed over to Alq.. Mason, who will take care
of its transfer to me.


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                                       Hugo L. Moser
                                       12C Central Park South
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 t.a.v. Yej.Mr.M.L.van
                                         25 July 1948



Stichting Nederlands Kunstbezit
Keizersgracht 105- Amsterdam



Dear Sir,
    As the representative of Mr. Hugo Moser in the recovery of
his Belot-co painting "Market Square of Pirna" , I would like
to enquire how soon Mr. Moser can count on receiving the
painting.
    At the time of Mr. Moser',0 interview with the director of
the Stichting Nederlanag-nnstbezit in May 1948, he was told
that about 6 weeks would be required to fulfill the necessary
formalities. Mr. Moser is returning to the United States in
September, and would like to take the nainting with him at
that time.
    On 21 May 1948, two statements, certified by the United
States Consulate General at Amsterdam, were forwarded to the
director, Stichting Nederlands Kunstbezit; one contained a
detailed exposition of Mr. Moser's claim on the Belotto; the
second gave me power to act as Mr. Moser's representative in
this matter.
    Especially in view ox recent developments I would appreciate
to get some information on the progress in this matter.




                                      very truly yours

                                        4-#4,u7 14,144
                                      Henry L. MASON
                                      193 Kon. Wilhelminalaan
                                      Voorburg tZ.H.)
Q'.


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                           Sept.         48



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Het Nederland se Beheersinstituut
Ileuhuyskade 9+
Is-GIAAWTHAGEw.
                      15 September     48


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         With reference to your letter
of the 25th of July Pam sorry to inform
you that this matter hgd not yet been
arranged.
          Owing to some difficultie
which have arisen at our office I°A.RIA4e4,
not able to take the matter up earlier.
         As soon as possible will
communicate with you again.


              The acting Director of the
         S 'IGHTING NEDEUArD3 KUNSTBE, T
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                 Colonel r. F.Otto.
Mr.Henry L. Mason
193 Kan. Wilhelminalaa
Voorburg (Z.H.)
"F.




      I
                          24 Februari 1949


Hugo Moser.

schilderij door Bernard Belotto, Market-
square at Pirna l getaxeerd op f.8000.-- A f.9000.-H
(volgens de Heer D.F.Lunsingh Schuerleer. )
                                WS
Part C. TOTAL INDEBTEDNESS TO FOREIGN PERSONS SECURED BY PROPERTY REPORTED IN PART B (Instruction 5).
                                                                          As of May 31, 1943
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                                                                  Face amount of       Book, market, or
                                                                   indebtedness        estimated value
                                                                                         of security
                                                                       (In United States dollars)
                                                                                                        10
1. Classes A through 11
2. Class J                                                                                              90

Part D. DESCRIPTION OF PROPERTY LISTED EN PART B, EXCEPT CLASS A (Instruction 6).
                                                                                                             Property held as of May 31, 194,3
 Type'                Description of each property item, including number of unit., date                     Cost or fare       Book, market, or
Number                   acquired (if subsequent to January 1, 193,5), and location                             value,         esti mated value, as
                                                                                                             as required             required
                                                                                                                  (In United States dollars)



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                          (Additional items should be listed on the continuation sheet issued for the purpose)

Part E. ADDITIONAL LNFORMATION CONCERNING PROPERTY ITEMS (Instruction 7).
1. State the name, address, and citizenship of each person, other than the person named in Part A. having any interest whatsoever, in any item
   of property listed in Part D (except property in Class I), including any indebtedness secured by the property. Describe each such interest.




          ---------



2. If any property listed in l'art D ia believed to base been damaged, destroyed, or seized between January 1, 1933, and May 31, 1913, as a
   result of war or a "scorched earth" policy carried on by any country, or of any confiscatory action or duress by a country which on May 31, 1943,
   was at war with the United States or was occupied by a country at war with the United States, describe the circumstances fully.




                                                         U. S. SOVIANK.S14111TISS OFFICE   10-31.489-10
    TRP.ASURY DE PA RTM E2`7 1'                                                                                                                      Approval of Budget Bureau
      PORZION runes Cosrsoc.                                                                                                                                tot MUD-m:1
                  (8-42)

               FORM TER-500: CENSUS OF PROPERTY IN FOREIGN COUNTRIES                                                                       Report Nuraber___2 _
                                                                                                                                           Jurisdiction____________
                           SERIES B: DETAILED PROPERTY REPORT                                                                                NOT 1I. t~LTttdL
                                                                                                                                                       (Instruction 2)
    Submit a separate report with respect to each foreign jurisdiction in which any                                                                   For Treasury Use
                         property was located. (Instruction 1)
    In preparing this report examine carefully the instructions in Public Circular No. 22 (or, when                                                                          2
           appropriate, in the abridged circular), particularly the specific instructions for this
                    series appearing in Section Vii (Section IV of the abridged circular)

    Part A. INFORMATION CONCERNING OWNER OF PROPERTY REPORTED (Instruction 3).
                                                                                                                                            Jur ,.                           3

             1. Name                           JAL       =MK                                 (Sane as on Series A)

             2. Address                            122 CENTRAL P;Ilt SOUTH                                      auto YCER        NI VI VRE
                                                                                             (Same as on Sevin A)

fra Part B. PROPERTY TYPES (Instruction 4).
                                                                                                                        Property held as of May 31, 1943
                                                                                                                             (a)                    (b)
     Tyre                                                      Properly type                                            Cost or face        Book, market, or
    Number                                                                                                                 value,           estimated value,
                                                                                                                         as resteird.        • as required
                                                                                                                            (In United States dollars)
    Class A. IivrEtticsrs IN AWED FOREIGN ORGANYZATIOriS (front Series C):
           Indisidaals 'obese property in all foriipa jurisdiesions had a total rola, 7.s than $50,000 etas
                   comptetely disregard propos". op. 1 and 2 (las...lion 4C in abridged circular).
       1. Corporations, associations, and similar organizations                                                                                                              11
       2. Branches                                                                                                                                                           12
       3. Partnerships                                                                                                                                                       13
    Class B. BULLION, CURRENCY, AND DEPOSITS:
       4. Bullion_                                                                                                                                                           21
       S. Currency and coin not repudiated                                                                                                                                   22
       6. Demand deposits_                                                                                                                                                   23
       7. Other deposits                                                                                                                                                     24
    Class C. SECURITIES (other titan Classes A and J):
       8. Government securities                                                                                                                                              31
       9. Government guaranteed corporate bonds                                                                                                                              32
      10. Corporate bonds, exclusive of type 9                                                                                                                               33


I     11. Corporate shares
      12. `Warrants, scrip, rights, options, and other securities
    Class D. RECEIVABLES AND CLAIMS (other than Classes A and J):
                                                                                                                                                                             34
                                                                                                                                                                             35

                                                                                                                                                                             41
      13. Notes
                                                                                                                                                                             42
      14. Accounts and bills receivable
                                                                                                                                                                             43
      15. Letters of credit
                                                                                                                                                                             14
      16. Other claims and demands
    Class E. MISCELLANEOUS PERSONALTY:
      17. Options and futures in commodities                                                                                                                                 51
      18. Goods and merchandise                                                                                             1,375..                    1,75a. •              52
      19. Machinery and equipment__                                                                                                                                          53
      20. Jewelry and objects of art for personal use                                                                                                                     54
      21. Liens on and claims to personalty, not otherwise classified                                                                                                     SS
    Class F. REAL PROPERTY, MORTGAGES, AND OTHER RIGHTS TO LAND:
      22. Land and buildings for personal use                                                                                                                                61
      23. Land and buildings, other than for personal use                                                                                                                    62
      24. Mortgages on real property                                                                                                                                         63
      25. Other rights to land__                                                                                                                                             64
    Class G. ESTATES AND TRUSTS:
      26. Interests in estates and trusts
                                                                                                                                       •                                     71
    Class II. DEE INSURANCE POLICIES AND ANNUITIES:
      27. Life insurance policies                                                                                                                                            81
      28. Annuities                                                                                                                                                          82
               TOTAL VALUE OF PROPERTY IN CLASSES A Tintorton H (carry to Series A)
                                                                                                                            .1.103 1540.                I
    Class I. LICENSE AGREEMENTS, FILANCIRSES, AND CERTAIN CONTRACTS:
      If you had an interest in property of any type under Class I, enter the word "Yea" in the
         appropriate box or boxes below.
                                                                                                                        X I X I X                                         01
      29. Patent license agreements                                                                                                                  X XX X x
                                                                                                                        X /XXX                       X X x X X            02
      30. Trademark license agreements
                                                                                                                        XXXXX                        X X X X X            03
      31. Franchises and concessions.
                                                                                                                        XXIX X                          X X X X           04
      32. Certain contracts
    Class J. PROPERTY ISSUED BY THE UNITED STATES AND PgRSONS THEREIN:
                                                                                                                                                                          91
       33.   Currency and coin
             Government issued and guaranteed bonds_                                                                                                                      92
       34.
       35.   Corporate bonds                                                                                                                                              93
       36.   Corporate stocks                                                                                                                                             94
       37.   Negotiable instruments for the payment of money                                                                                                              95
               TOTAL VALUE OF PROPERTY ire CLASS J (carry to Series A)
        Rave you reported all your pivogerty in the jurisdiction named above which you are called upon to report by the instructions applicable
    to you? Answer YES or NO           II     If your answer is No, explain fully




                                                                                                                                                               15-34403-Ic
   Max Fechner
 Keizersgracht 518                                               Z;z- 17. 0
   Amsterdam C.
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           to      eda r d               t3gd to idr eavoos
      dit schilderij booPt ver   t        o opbren t, Akd
      r.600.-- aan do Neer ?moon Is for to gesteld;
•     dat de Neer on i4OVTOAVROO*4 sijnde sander oiddelen van
      bosto,fin fit grog your levensandorhoud bonbon gebrulkt;
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 ten soode
                            gat vun vormald odhilderil nioto 14
                        omen aan bet veroogen vph do Zr ;toser;
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2,A dot d t           e e s al)Rifx4gilthebbondendoor hot
    in ontvangs nomen von dit sehildortj artist van lodoto
    invarder        oorspronkelijko apbrongst oda f.600.--*
    door op     e          de ter on Movreuw Anton goon
    s"keii              elljk is;
          htj war slob en 41jn rook%        llgen prijs
           sunsprokan#, die hij jogens d bti6ht      g
           twit on boor argonen# alsmodo Jevons do
            on al dimes armon withehhon or varkril
              von sahada aun varaeld soblIderij of mit
      andert morsook met dit sehliderij skmpnhmngeede;
                                             2 8 April
                                                     toaetel 98
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Kon,,viiihel!ninalaan 193




              /nlivend vindt l earl vorklAring *an ottvangst
in vie. voud (2 gezegalde an 2 ongezegq1d) voor het eahilderij
door Boo' :to r-Mat'ktplain -Van Firna"i      -
           IndiOn J zich mot do inhou4 kunt Imre igen, varmoek
A TI mij daze exellplaren getektAd t #illen
mij het bedrag sti r f . 233.75 to verGoAbu.
           Ziodrade vorklaringen van ontvangt in ain
 iwn werden AAVI gar—Tistraerd •en 6ntvaligt fH ex.. vc
arohlof t—
               ad t doze formalitaiten Yervuld zijn, ontvangt
ven volgbiie je waarop V bovengenpeNd aohilderil bit hat
Viikn,711,14eum t    toirderiCkunt dOeti 4114,ens




Bijlagons 5
            dat KU de St t ng !Jeweler ds Kunstbezit en haitr
            orgasm, alsmedp dp 4edoriandse Staat en al diens
            organen zal sehadoloos stollen voor alle aanspraken
            die lager's doze terzake van het gemeld schIlderij
            zijn of mochten worden gericht;
        lg. dat hij terzake van vermeld schilderii geen aanvrage
            tot vergoeding van oorlogsschade heoft ingediend.
Aldus is trieevoud opeemaakt
to 's-   venhuga
dd. a    ril V:A9                    1iandteCening van de ontvangert

                                                  ( tGO,
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                 De ondergeteende, de neer 4.L.3ason wonende
          to Voorburg, hon.ilhelninalaun 193, gemachtliode_yan de
          leer Mg° 1,:oser vorkluart van de Ztichting Uederlands
          Eunstbezit ontvangen to hebben het navolgende schilderij:
          "rktplein van ?in*" door itelotto
          en voort3
              dat do neer Hugo f.,.osor, vddirdat het schilderij_in
              handon der Iiiitsers is gokonen enig-rechtoatig el gonaar
              van eit schilderij was;
          2A dat dit schilderij bij de besetting van Nederland tor
              rostuuratie was moven "tan de neer Usx.Pechner, Keizerz-
              gracht 518 to Amsterdam,.C;
           • dat de rostauratio niot erood WW1 gekomen toen do Hear
              4oser Nederland voor de besotting verliet;
              dat biijkhaar de Loer l'achnor dit sehilderij in harden
J.            hooft gestold van de Hoer en .evronw ht)sen, zijnde
              Avrouw osen een mister vary do hoer oser;

         L. dat dn Hoer C-.osen door bemidCeling van do Hoer J.3. -
            nor to Haarlem zonder daartoo goctontIgd to 4ijn gentlest
              dit sehilderij heeft verkocht en dat de opbrongst ad.
                        aan de Reel' kosen Is ter hand gesteld;
          6 dat de neer en ?,;evrouw "Zosen zljnde zonder middelen van
             beetaan dit bedra voor levonsonderhoud tii2bben .ebrulkt;
              dat van do opbrongst vin vermold-schilderij niete 13
              ten mode gokoaon aan het vermogon vun de Hoer '61oser;
         IA   dat door hem aan de t1ohting Nederlands Kunstbesit to
              's-Oravenhuge beta4ld is uls bijdrago in de algemene
              kosten van teruevoering en beheer 2j vary de getaxeerde
              waarde ad. f. 8514.-- van dit sehilderij aldus f.233.75;
                                   even.    event.
              dat de goer Hugo %'osor &Us zijn rechthebbendendoor het
              in ontvang5t nation van dit sehildorij afsle,t van Wore
              invorderine van do oorspronkelijke opbrngst ad. f.600.-.
              dr op het vermogon van do Hear en er. vrouyt ,)sen goon
              onkel verhual meormogolijk is;
         IQ*dat hi voor zieh en zijn rechtverkrijcon prijs geoft
            alio tonspraken, Ole hij jagens de tiehting !leder/ands
            Y,unstbezit on hkar organon, alsnode jegens de Nederlandse
             teat en al diens organen nocht hebben of varkrilgon
            torm67.e van schade aan vermele sohi/darijof ult make
            ander., oorzaAk it dit schilderij samenhiAngende;


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    dat hij'dft :Aiohting 1 r ands t;unstb it en Pinar
    organen, alsmode de fad laAdse Staat en al diens
    organen zal schadeloos     lien.visor alle aansprAen
    die Wens   deze  terzake wAn het gemeld schilderij
    ziln of mochten worden     icht;
la. dat hij terzake viAn vermeld schilderij geen -anvriAge
    tot vergooding v4n oorlogsschade heeft ingediend.

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             IAJNG VAt: IfTVAttin

         He ondergetekendes de Neer E.L.Mason wonende
 te Voorburg, Lon.11helminaluan 1932 geneehtiede van de
 Hoer Hugo L.Lloser verklaart van de Stichting ffederlands
 Kunstbezit ontvangen to hebben het navolgende schilderij:
 'Jierktplein ran Firna" door Belotto
 en voorts
 14 dat de Heer Hugo L.Noeerl vdordat het schilderij in
    hsnden der Duitsers is go%onen enig rechtmatig eigenner
    van (it schilderij was;
    dat dit schilderij bij de besetting van Nederland tel
    resteuratie was gegoven an de Feer Aax.Fechner, Keizers-
    gracht 518 te nmstereat-C;
    det do resteuratie niet gereod was gekomen toen de Heer
    Noser Nederland voor de bezetting verliet;
    dat allkbear de hoer Vechner dit schileerij in 1anden
    hesft neeteld van de /leer en evrouw Losen, zijnde
    1evrouw osen ern zuster van de hoer :.
                                         ,bser;
    dat de liver hosen door benidenling van Oa fieer J.13.
    Mier te Haarlem zondor daartoe gemeChtigd to zijn geweest
    dit schildorij heeft verkocht en dat de opbrengst ad.
             aan de Neer 'nosen is ter hand gesteld;
    dat de floor en :-ievrouw hosen zijnde zonder middelen van
    bestaan Olt bedrag voor levensonderhoud hebben eebruikt;
    dat van de opbrene,st ven vermeld schilderij niets is
    ten goede gekomen aan het vermogen van de Beer aoser;
    dat door hem aan de tichting Nederlands Xunstbeelt to
    's-Oravenhage betanld is als bijdrag, in de algemene
    kosten van terugvoering en boheer 24. van de getaxeerde
    waarde ad. f. 8500.-- van dit schi/derij Aldus f.233.7::,
                         even      evrt.
    dat de Hear Hugo Moser als zijn rechthebbenclendoor hat
    in ontvangst Yemen van dit schilderij efeet van tedere
    invordering van de oorspronkelijke opbrrngst ad. f.600.--,
    dear op het vernogen van de neer en Mevrouw Edson geen
    enkel vorbaal neer mogelijk is;
14. dat hij voor zich en zijn rechtverkrljgen prijs geeft
    elle aanspraken, die hi j jegens do Stichting Nederlands
    Kunstbezit en hear organen, alsrede jegens de Nederlandse
    Staat en al diens organen nocht hebben of verkrijgen
    terzake van aehade aan verzneld schilderij of uit welke
    andere oorzaak met dit schilderij senenhangende;


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            AG-:.7-nG3PR/S                                            12 Nay 1)49
            SULkT CT: R4stiVution of the Painting, Canalatto, "garntplatz
                      in Pirna", 10th shipmenc, 15 April 1946, Dutch
                      running No.2476, Munich No.4411, according to
                      4a4gte Formulier No. 7056 Guudatikker.

            TOI Commissioner General for :,etheriands, Economic
                     Recuperation, Keizersgracht 569-571, Amsterdam C
                  1. Referonce is mane to the above sobc:et tainting, which
            was reetitutod to the !,ethoriunds on 15 April 1)46.
                  2. elle information which was on hand    that tine was
            received from te art dealer Almas-Dietrich, 'who supposedly
            purchased it frnn Goudstikker on 4 July 1942 for 1. 1.763.33.
                  3. Accurcithg to information which we now have on hand
            from Lne catalogue of the Linz collection, this painting was
            acquirnn from Karl Haber stock in Berlin. The painting wig
            formenly in the castle of nnhalt, as property of the Duko of
            Anhalt-nossau and was exhibited in the art collection of
            Oannari,         Iccording to the statement f Faberstoek the
            painting was acquired in nresden.
                  4. the rostitut-,d painting is listed :n 14o.35           in the
            Linz collection, ono of toe group of first pAnitings            acquired
            for the Linz collection before the war. .nannrdiug to           infor-
            mation on hand he first 400 paintings wenn anquircd             during
            the ynnrn 1)35-37.
                  5. .Et wonid seem that the painting rnntituted to Holland
            on 15 April 1)46 cannot be the same one nnich was acquinnd
            by tho art dealor Almas-Dietrich, Unless your office can furnish
            nefinite proof tnat this is the painting acquired by Almas-Diet-
            rieh, it is requonted that it be returned to the viunich Central
            Collocting Point as falling into the catezory as Germun owned
            prior to the occupation to the Netherlands.
                                1nR 2HE' Linfi NinCT0R:


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                                                        Arts and Archives Section
            1 lncl:                                     Restitution Branch
              nhoto of palui,inn
              in question
            Tel     4-389




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   KTNCIDOM OP THE NETHERLANDS
   CITY OF AMSTERDAM             SS
   CONSULATE4_1ENERAL OF THE                                       The Hague, 21 May 1948
   UNITED STATES OF AM1101C.A

      Dr. A.B. de Vries
      SUchting Nederlands Kunstbezit
      Keizersgracht 105 - Amsterdam.


            I, Yugo L. Moser, of Apt 6 D, 120 Central Park South, New Y o rk,
      NY, certify herewith:

      1. that I am a citizen of the United States of America, bearer of
      US passport No 4144 $

      2. that I am the legal owner of the Belotto painting " Market square
      of Pirna" which I purchased in 192g

      3. that I left the Netherlands on 2 February 1940 ; that the occupation
      of the Netherlands made my return to Holland impossible;

     4. that I left the Belotto in Dec. 1 39 or Jan. '40 with Mr. Fechner ,
     art restorer, of Amsterdam, in order to have it restored and cleaned;
     that this Mr. Fechner, a person of Jewish origin, has died during the
     occupation, according to information received by me from reliable source;
     that I have not the slightest idea what happened to the painting after
     10 May 1940, and that the first news about the painting war given to me
     by the Stichting Nederlands Kunstbezit , through the US Embassy, in 1947;

     5. that I never gave Mr. Fechner, nor any other person, permission to
     sell the painting; that I never received any financial rccompensation
     for the "sale" of the painting,nor any other transaction with it ; that
     Mr. Fechner had no other instructions than to restore and clean the
     Belotto and then return it to me;

     6. that since 192e I have always been the sole legal owner of the
     painting; that I have never given it in pawn, or in loan; that no one
     ever had any claims against the painting since I p chased it.
                                                             A
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                     Subscrihed and sworn to before me,             Hugo     Moser
                   SLATOR C. t.11-AC KIMMlf .Vioe Cc;usul of       C/o Mason.
                     the United States of Amerio,1 in              193. Kon. Wilhelminalaan.
                     toad for the City of Amsterdam,               Voorburg Z.H.
                     ilettierlands, duly commtssioned
                     and qua3.ified, this          "."'~

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Item no.                                      Vice Consul ur tne unite4
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      IONOOOM OP ME NETHERLANINI                     A.
      CITY OF AMSTERDAM
      CONSULATE GENERAL OF THE                                              The Hague, 21 May 1948
      UNITED STATES OP AMAIRICA

         Dr. A.B. de Vries
         Stichting Nederlands Kunstbezit
         Keizersgracht 105 - Amsterdam.


              I, Yugo L. Moser, of Apt 6 D, 120 Central Park South, New York,
        1Y, certify herewith:
        1. that I am a citizen of the United States of America, bearer of
        US passport No 61443
        2. that I am the legal owner of the Belotto painting " Market square
        of Pirna" which I purchased in 192*
        3. that I left the Netherlands on 2 February 1940 ; that the occupation
        of the Netherlands made my return to Holland impossible;
        4. that I left the Belotto in Dec. '39 or Jan. '40 with Mr. Fechner ,
        art restorer, of Amsterdam, in order to have it restored and cleaned;
        that this Mr. Fechner, a person of Jewish origin, has died during the
        occupation, according to information received by me from reliable source;
        that I have not the slightest idea what hanpened to the painting after
        10 May 1940, and that the first news about the painting was given to me
        by the Stichting Nederlands Kunstbezit , through the US Embassy, in 19474
        5. that I never gave Mr. Fechner, nor any other person, permission to
        sell the painting; that I never received any financial recompensation
        for the "sale" of the painting,nor any other transaction with it ; that
            Fechner had no other instructions than to restore and clean the
        Belotto and then return it to me;

        b. that since 1928 I have always been tree sole legal owner of the
        painting; that I have never given it in pawn, or in loan; that no one
        ever had any claims againEt the paintine, since I Trchlieed it.



                            Subseribsd and sworn to before me,             _Eugo 1. Moser
                           SUITOR C 0144._AqJqtiNiviaV o         off       C/o lasOn
                            the United States of America in                197 Yon. lilhelminalaanN
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                 OFFICE OF MILITARY GOVERNMENT FOR BAVARIA
                             PROPERTY DIVISION
                     RESTITUTION BRANCH tA&A SECTION
                 MUNICH GERMANY     APO 407-A      US ARMY      SPM/mw
     AG-007-MGBPR/B                                    12 May 1949
     SUBJECT: Restitution of the Painting, Canaletto, "Marktplatz
               in Pirna", 10th shipment, 15 April 1946, Dutch
               running No.2476, Munich No.4411, according to
               Aar ifte Formulier No.7056 Goudstikker.
     TO          Commissioner General for Netherlands, Economic
                 Recuperation, Keizersgracht 569-571, Amsterdam C
           1. Reference is made to the above subject painting, whicn
     was restituted to the Netherlands on 15 April 1946.
           2. The information which was on hand at that time was
     received from the art dealer Almas-Dietrich, who supposedly
     purchased it from Goudstikker on 4 July 1942 for fl.     1.763.38.
           3. According to information which we now have on hand
     from the catalogue of the Linz collection, :this painting was
     acquired from. Karl Haberstock,in Berlin. The painting was
     formerly in the castle of Anhalt as property of the Duke of
     Anhalt-Dessau and was exhibited in the art collection of
     Caspari, Munich. According to the statement of Haberstock the
     painting was acquired in Dresden.
           4. The restituted painting is listed as No.35 in the
     Linz collection, one of the group of first paintings acquired
     for the Linz collection before. the war. According to infor-
     mation on hand the first 400 paintings .were acquired daring
     the years   1935-37.
           5. It would seem that the painting restituted to Holland
     on 15 April 1946 cannot be the same one which was acquired
     by the art dealer Almas-Dietrich, Unless your office can furnish
     definite proof that this is the painting acquired by Almas-Diet-
     rich, it is requested that it be returned to the. Munich Central'
     Collecting Point as falling into the category as German owned
     prior to the ocCupation to the Netherlands.
                            FOR THE LAND DIRECTOR:


                                              ST'EFAN P MUNb NG
                                              Chief, Monument4 Fihe
                                              Arts and Archives Section
     I Incl:                                  Restitution Branch
       Photo of painting
       in question
     Tel: MM 4-389
IL
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    O.E. 1981.
        Ontvangstverkl.
       e en
 Aan   ekenen,
                    de Hoer H/L. Mason.
                    Kon.A.lhelminalaan 193
                    to ‘voor rg,

         Ingesloten lleve U aan to treffen
  gerei!istreerde ontvangstverklaring voor de
' Hoer Hugo.L. :zoser intake de ontvangst van
  het schilderij "    rktplein van Pirna "
  door Belotto.
                               A DS K     EZIT.

                          O. Bakkelo.
                            administrateur.
                                             June 1st     49/




dr,Stefan P.unsing„
Chief M.F.A. < A„
Arcisstrasfle
    No••••••1...n.c.••••




                In reply to yolar letter of Hay 12th 1-c.)49,
with-enclosed photography, we may,linform you, that the
painting mentioned therein has been:reStituted to tir,Hugo
L.Mosett 120, Central Park, out      44i York, being the legal
owner of the painting in oueStlon, 1-'1,,ase find enclosed
a photography of-the.oertificate of ownership, which is
in our possession,
                   trust. that herewith to your satisfection
is proved, that Mr.Hugo L.Nosetis the real. 0-1nr.t f1' the
pnIntinp.
                                     Yl.nrs faithfully,

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                                       THE FOREIGN SERVICE
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                                    UNITED STATES OF AMERICA




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Dat : ..10..CICC0026or      2021
